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                EXHIBIT D
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From:             Salovey, Peter
To:               Lee, Bandy
Cc:               Strobel, Scott
Subject:          RE: Request for a review
Date:             Friday, September 25, 2020 5:55:51 PM


Dear Dr. Lee,

Thank you for your letter. I indeed remember meeting you in the context of the Global Health
Studies program, and I am glad to hear of your success in that program and elsewhere.

I have given your letter careful thought and inquired about your communications with Provost
Strobel. You have asked that I intervene to reverse or suspend a reappointment decision made by a
Yale department. Such an action on my part would be highly unusual and serious because the right
of the senior faculty to determine their department’s members without interference is fundamental
to Yale’s tradition of faculty governance. In regard to your reappointment, the department made a
reasoned decision based on legitimate academic concerns. Under these circumstances, it would not
be appropriate for me to take the action that you request.

I know that this response will come as a disappointment to you, but I trust that your many
accomplishments will hold you in good stead moving forward.

Sincerely,
Peter Salovey

Peter Salovey
President and Chris Argyris Professor of Psychology
Yale University
P.O. Box 208229
New Haven, CT 06520‐8229

Telephone: (203) 432‐2550



From: Lee, Bandy <bandy.lee@yale.edu>
Sent: Friday, September 25, 2020 8:25 AM
To: Salovey, Peter <peter.salovey@yale.edu>
Cc: Strobel, Scott <scott.strobel@yale.edu>
Subject: RE: Request for a review

Dear President Salovey:

Forgive me for this addendum. To inform you, my communications are not confidential, as my legal
friends have involved themselves in my case. A postscript is added at their request.

Sincerely,
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Bandy Lee



From: Lee, Bandy
Sent: Thursday, September 24, 2020 8:30 AM
To: Salovey, Peter <peter.salovey@yale.edu>
Cc: Strobel, Scott <scott.strobel@yale.edu>
Subject: Request for a review

Dear President Salovey:

Please find attached a letter with a request.

Best regards,

Bandy Lee
